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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-222-1 (RJL)
               v.                             :
                                              :
GEORGE PIERRE TANIOS,                         :
                                              :
and                                           :
                                              :
JULIAN ELIE KHATER,                           :
                                              :
                       Defendants.            :


      GOVERNMENT’S RESPONSE TO MOTION TO ACCESS VIDEO EXHIBITS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs this Court that all Video Exhibits which are the subject

of the Press Coalition’s motion are currently in the possession of the Coalition, having been

provided to the Coalition following the detention hearing in this case. The undersigned Assistant

has communicated with counsel for the Press Coalition, and has confirmed that all exhibits

referenced by the government at the sentencing hearing on January 27, 2023, are in the possession

of the Press Coalition. The undersigned Assistant is authorized to represent that counsel for the

Press Coalition is now satisfied that the government has complied with the request, and the parties

respectfully inform the Court that no further action is necessary.



                                              Respectfully submitted,


                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052


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                      By:                 /s/
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